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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF KENTUCKY
                                     LONDON DIVISION

                                                                    Chapter 11
  IN RE:                                                            Jointly administered
                                                                    Case No. 19-61608
  AMERICORE HOLDINGS, LLC, et al.1

                            Debtors.

  CAROL FOX, CHAPTER 11 TRUSTEE OF                                  Adversary No. 22 _____ -
  AMERICORE HEALTH, LLC

                            Plaintiff,

  v.

  JAMES BIDEN,

                        Defendant.


                           COMPLAINT TO RECOVER FRAUDULENT
                             TRANSFER AND FOR TURNOVER

        Carol L. Fox, the Chapter 11 Trustee (“Ms. Fox” or “Trustee”) of Americore Health,

LLC (“Americore Health”), a debtor (Case No. 19-61607) in the Chapter 11 cases being

jointly administered under the lead case of In re Americore Holdings, LLC (Americore

Health, individually, the “Debtor” and collectively with the jointly administered cases, the

“Debtors”), files this Complaint against James Biden (the “Defendant”), stating as follows:




1 The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification numbers

in parentheses): Americore Holdings, LLC (0115); Americore Health, LLC (6554); Americore Health
Enterprises, LLC (3887); Ellwood Medical Center, LLC (1900); Ellwood Medical Center Real Estate, LLC
(8799); Ellwood Medical Center Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard County
Medical Center, LLC(3388); Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610); and St.
Alexius Hospital Corporation #1 (2766).
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                                   I. JURISDICTION AND VENUE

        1.       This Court has jurisdiction over this adversary proceeding pursuant to 28

U.S.C. §§ 157(a) and 1334(b). Further, pursuant to Local Rule 83.12, all matters arising

under or arising in or related to cases arising under title 11 are referred to the Bankruptcy

Court. Amedisys, Inc., et al. v. Nat'l Century Fin. Enters., Inc. (In re Nat'l Century Fin. Enters.,

Inc.), 423 F.3d 567, 573 (6th Cir. 2005) (district courts may refer title 11 cases and related

cases to bankruptcy courts).

        2.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.       This matter is a core proceeding. 28 U.S.C. § 157(b)(2).

        4.       Pursuant to Bankruptcy Rules 7008 and 9027(a) of the Federal Rules of

Bankruptcy Procedure, Trustee consents to entry of final orders by this Court in this

adversary proceeding.

                       II. PARTIES AND PROCEDURAL BACKGROUND

        5.       The Debtor is a for-profit business corporation organized under the laws of

Delaware.

        6.       The Debtor never had direct ownership interest the rural hospital Debtors,

including St. Alexius Hospital, Ellwood City Hospital, Izard Medical Center, Pineville Medical

Center or the non-Debtor hospital, including Lee County Medical Center.

        7.       Upon information and belief, the Defendant is an individual and a

Pennsylvania resident.

        8.       On December 31, 2019 (the “Petition Date”), each of the Debtors filed a

voluntary petition with this Court under Chapter 11 of the Bankruptcy Code.2



2 All references to the “Bankruptcy Code” herein refer to Title 11 of the United States Code.




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      9.     On February 20, 2020, the Court entered an agreed order for the appointment

of a Chapter 11 Trustee and directing the United States Trustee (“UST”) to immediately

appoint a Chapter 11 Trustee in the Debtors’ jointly administered cases. (Doc. No. 258).

      10.    On February 21, 2020, the UST filed a Notice of Appointment of Ms. Fox as

Chapter 11 Trustee (Doc. No. 260), and on February 24, 2020 Ms. Fox Filed her Notice of

Acceptance of the Appointment as Trustee (Doc. No. 269).

                                    III. TRANSFERS

      11.    On January 12, 2018, Americore Health wire transferred the sum of

$400,000.00 to Defendant’s bank account at PNC Bank, located in Philadelphia,

Pennsylvania. The documentation evidencing the foregoing wire transfer prepared by

Americore Health references the transfer as a “LOAN.”

      12.    On March 1, 2018, Americore Health wire transferred the sum of $200,000.00

to Defendant’s bank account at PNC Bank, located in Philadelphia, Pennsylvania. The

documentation evidencing the foregoing wire transfer prepared by Americore Health

references the transfer as a “LOAN.”

      13.    On June 4, 2018, Americore Health wire transferred the sum of $10,000.00 to

Defendant’s bank account at JPMorgan Chase bank, located in New York, New York. The

documentation evidencing the foregoing wire transfer prepared by Americore Health

references the transfer for “Consulting & Marketing – May 2018.”

      14.    A summary of the foregoing transfers (the “Transfers”) is as follows:




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True and correct copies of the documents evidencing the Transfers are attached hereto

as Composite Exhibit A.

                 IV. DEFENDANT’S RELATIONSHIP WITH DEBTORS

       15.    By information and belief, Defendant procured the $600,000.00 in loans from

Americore Health (the “Loans”) based upon representations that his last name, “Biden,”

could “open doors” and that he could obtain a large investment from the Middle East based

on his political connections.

       16.    Debtors even provided Defendant with business cards reflecting his position

as a “Principal” with Americore Health to assist his financing efforts. A redacted copy of the

Defendant’s business card is attached as Exhibit B. As a result, Defendant became a

fiduciary to Americore Health.

       17.    Instead, of complying with his fiduciary responsibilities, Defendant helped

Debtors procure an ill-advised bridge loan from a hedge fund that had a deleterious impact

on the financial affairs of the Debtor and ultimately forced Debtors into bankruptcy, as he

never delivered the promised the large investment from the Middle East.

       18.    And worse, Defendant never repaid the Loans to Americore Health, including

during the time that Debtors were strapped for cash.

       19.    Despite Trustee’s demand, Defendant has still failed and refused to return the

Transfers to the Trustee.

                                       COUNT I
                          (Fraudulent Transfers pursuant to
                     Section 548(a)(1)(B) of the Bankruptcy Code)

       20.    Trustee incorporates the allegations in paragraphs 1 - 19 as if set forth fully

herein.




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      21.    Within two years of the Petition Date, that is between January 12, 2018 and

June 4, 2018, Americore Health made the Transfers to Defendant.

      22.    The Transfers constituted the transfer of an interest of Americore Health in

property.

      23.    Americore Health received less than reasonably equivalent value in

exchange for each of the Transfers, and:

             a.     Was insolvent on the dates that such transfers were made, or

                    became insolvent as a result of such transfers;

             b.     Was engaged in business or a transaction or was about to engage

                    in business or a transaction for which any property remaining with

                    Americore Health was an unreasonably small capital; or

             c.     Americore Health intended to incur, or believed that it would incur,

                    debts that would be beyond its ability to pay as such debts matured.

    WHEREFORE, the Plaintiff respectfully requests the Court to enter a Judgment:

             a.     Declaring the Transfers to have been fraudulent transfers pursuant
                    to Section 548(a)(1)(B) of the Bankruptcy Code;

             b.     Avoiding the Transfers made to the Defendant as fraudulent
                    transfers under Section 548(a)(1)(B) of the Bankruptcy Code;

             c.     Disallowing any claim that the Defendant may have against the
                    Debtor;

             d.     Requiring Defendant to repay the Transfers to the Plaintiff, plus
                    interest; and

             e.     Granting such other and further relief as may be just and proper.




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                                       COUNT II
                  (Turnover of Property of the Estate – 11 U.S.C. § 542)

       24.      Trustee incorporates the allegations in prior paragraphs 1 - 19 as if set forth

fully herein.

       25.      The Transfers constituted the transfer of an interest of Americore Health in

property.

       26.      Defendant received the Transfers totaling $610,000.00 from Americore

Health.

       27.      $600,000.00 of the Transfers were characterized as “Loans” when the

$600,000.00 was transferred from Americore Health to Biden.

       28.      The $600,000.00 is property of the estate pursuant to 11 U.S.C. § 541 of

the Bankruptcy Code.

       29.      The Debtor is entitled the return of $600,000.00 in Loans under 11 U.S.C.

§ 363 of the Bankruptcy Code.

       30.      The Defendant is required to turn over the Loans to the Trustee pursuant to

11 U.S.C. § 542 of the Bankruptcy Code.

       WHEREFORE, the Trustee respectfully requests that this Court enter judgment in

favor of the Trustee and against Defendant and order the Defendant to return the Loans

in the amount of $600,000.00 plus interest to the Trustee, and such other and further

relief that the Court deems just and proper.




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Dated: July 7, 2022                          Respectfully submitted,

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                       Exhibit “A”
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Americore Holdings, et al. , Debtors.
United States Bankruptcy Court - Case No. 19-61608 (Jointly Administered)
Americore Health, LLC - Transfers to James Biden
Period Analyzed from 12/01/16 through 08/31/18
Source: Debtor's bank records

                 Transaction
    Bank ID                       Clear Date     Cash Disbursements
                    Date
PNC-5328           01/12/18        01/12/18       $      400,000.00
PNC-5328           03/01/18        03/01/18              200,000.00
ST-9958            06/04/18        06/04/18               10,000.00
Total Cash Disbursements                          $      610,000.00




B. Riley Advisory Services                                                                           Page 1 of 1
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                       Exhibit “B”
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